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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

KILMAR ARMANDO
ABREGO GARCIA, et al.,                           *

        Plaintiffs,                              *
                                                             Civil Action No. 8:25-cv-00951-PX
   v.                                            *

KRISTI NOEM, Secretary,                          *
United States Department                         *
of Homeland Security, et al.,                    *

        Defendants.
                                               *
                                              ***
                                             ORDER

        The Defendants ask this Court to extend the deadline to respond to its Order at ECF No.

51, arguing that the Defendants require several days to “meaningful[ly] review the Supreme

Court’s decision,” issued last night at 7:00 PM, and that it is “impracticable for Defendants to

comply with the Court’s 9:30 AM deadline only a few hours after the Supreme Court issued an

order in this case.” ECF No. 55. This, Defendants say, supports extension of the filing deadline

until April 15, 2025. The Court largely rejects the Defendants’ request.

        First, the Defendants’ act of sending Abrego Garcia to El Salvador was wholly illegal

from the moment it happened, and Defendants have been on notice of the same. Indeed, as the

Supreme Court credits, “the United States acknowledges that Abrego Garcia was subject to a

withholding order forbidding his removal to El Salvador, and that the removal to El Salvador

was therefore illegal.” Noem v. Abrego Garcia, 604 U.S. ____ (2025), Slip Op. at 1. Second,

the Defendants’ suggestion that they need time to meaningfully review a four-page Order that

reaffirms this basic principle blinks at reality. Third, the Defendants misconstrue the Supreme

Court’s Order stating that the original deadline at ECF No. 21 is “no longer effective,” as



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somehow suggesting that the Court’s amended Order requiring prompt attention to this matter is

“inconsistent” with the Supreme Court’s directive. Nothing could be further from the truth. As

the Supreme Court plainly stated, “the Government should be prepared to share what it can

concerning the steps it has taken and the prospect of further steps,” Slip Op. at 2—all against

the backdrop of this Court’s needing to “ensure that the Government lives up to its obligations to

follow the law.” Id. at 4 (Sotomayor, J., concurring).

       Accordingly, the Court GRANTS in part the request and will extend the filing deadline

until 11:30 AM today. The hearing date and time will remain unchanged.




      April 11, 2025                                               /S/
   Date                                                     Paula Xinis
                                                            United States District Judge




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